    Case: 1:23-cv-01887 Document #: 48 Filed: 05/22/23 Page 1 of 3 PageID #:142




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS



 Commodity Futures Trading Commission,               No: 1:23-CV-01887
                            Plaintiff,

                       v.                            Hon. Manish S. Shah

 Changpeng Zhao, Binance Holdings Limited,
 Binance Holdings (IE) Limited, Binance
 (Services) Holdings Limited, and Samuel Lim,


                            Defendants.



                    CORPORATE DISCLOSURE STATEMENT
              PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 7.1

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Defendants Binance Holdings

Limited, Binance Holdings (IE) Limited, and Binance (Services) Holdings Limited, notify the

Court that:

       Defendant Binance Holdings (IE) Limited has no parent corporation, and no publicly held

corporation owns 10% or more of its stock.

       Defendant Binance (Services) Holdings Limited has no parent corporation, and no publicly

held corporation owns 10% or more of its stock.

       Defendant Binance Holdings Limited’s parent corporation is Binance (Services) Holdings

Limited, and no publicly held corporation owns 10% or more of its stock.




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    Case: 1:23-cv-01887 Document #: 48 Filed: 05/22/23 Page 2 of 3 PageID #:143




Dated: May 22, 2023

Respectfully submitted,

/s/ Michael Celio________

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                                             2
     Case: 1:23-cv-01887 Document #: 48 Filed: 05/22/23 Page 3 of 3 PageID #:144




                                  CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing document was filed electronically with the

Clerk of the Court using the CM/ECF system on May 22, 2023, which will send notification of

the filing to all counsel of record.


                                                     /s/ Michael Celio
                                                 Michael Celio




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